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                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                   ALEXANDRIA DIVISION


    UNITED STATES OF AMERICA

                                                                        CR. NO. 00-10018-02
    -vs-
                                                                             JUDGE LITTLE
    CEDRIC DEMOND BOWMAN


                                    RULING AND ORDER

           Before the court is a Motion to Eliminate Enhancements and Reduce Sentence filed

    by Cedric Demond Bowman (“Bowman”) on 9 January 2006 [Doc. #125] seeking “review

    of his case and a sentence reduction, eliminating the enhancements in his case.” The

    government filed an answer on 23 January 2006 [#128].

           Bowman’s motion does not specifically state its statutory basis. It appears, however,

    to be written as a 28 U.S.C. § 2255 motion. Courts, however, will not characterize a pro se

    defendant’s motion as a § 2255 motion if 1) it is not clearly identified as such, and 2) the

    motion would be the first such motion filed, thereby making subsequent § 2255 motions

    subject to the law’s restrictions on “second or successive” motion without first giving the

    defendant “an opportunity to withdraw the motion or to amend it so that it contains all the

    § 2255 claims he believes he has.” Castro v. United States, 540 U.S. 375, 383 (2003).

           As such, the court now informs Bowman “that it intends to recharacterize the

    pleading” as a first § 2255 motion. Id. The court therefore notifies Bowman that “this
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    recharacterization means that any subsequent § 2255 motion will be subject to the restrictions

    on ‘second or successive’ motions,” as discussed in 28 U.S.C. §§ 2244 & 2255. Id.

           In addition, the court now gives Bowman the opportunity to withdraw his motion or

    amend the motion to include additional § 2255 claims he wishes to bring. Id. Accordingly,

    Bowman is ORDERED to withdraw his motion, amend it within 30 days “so that it contains

    all the § 2255 claims he believes he has,” or indicate to the court that he wishes to proceed

    with the current motion as his first § 2255 motion. Id.

           Alexandria, Louisiana

           22 February 2006




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                                                           F. A. LITTLE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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